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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                       No. 2:22-cr-01561-MIS-1

MICHAEL RIVERA,

       Defendant.

                                             ORDER

       THIS MATTER is before the Court on “Defendant’s Motion to Produce Relevant

Information Relevant to Daubert Testimony” [ECF No. 88], filed June 20, 2023 by Defendant

Michael Rivera (“Defendant”). Therein Defendant requests specific documents and materials

relied upon by the Government’s proposed expert witnesses be provided at least seven days before

the Daubert hearing set in this matter. ECF No. 88 at 3. Besides citing Federal Rule of Evidence

702 and making a minor reference to Brady, Defendant provides no case law or other support for

his proposition that the Government must provide the additional materials he requests. Federal

Rule of Evidence 702 merely indicates the guidelines for when a witness may be qualified as an

expert. Pertinently, Federal Rule of Criminal Procedure 16(a)(1)(g)(iii) states:

       The disclosure for each expert witness must contain:

       •   a complete statement of all opinions that the government will elicit from the
           witness in its case-in-chief, or during its rebuttal to counter testimony that the
           defendant has timely disclosed under (b)(1)(C);

       •   the bases and reasons for them;

       •   the witness’s qualifications, including a list of all publications authored in the
           previous 10 years; and



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       •    a list of all other cases in which, during the previous 4 years, the witness has
            testified as an expert at trial or by deposition.

       Defendant fails to specifically outline how the Government’s Notice of Expert Witness

Testimony [ECF No. 81] fails the strictures of Federal Rule of Criminal Procedure 16. As to any

potential Brady material, the Government, of course, has a general obligation to continue to adhere

to Brady.

       Accordingly, it is HEREBY ORDERED that “Defendant’s Motion to Produce Relevant

Information Relevant to Daubert Testimony” [ECF No. 88] is DENIED.



                                                     ………………………………………….
                                                     MARGARET STRICKLAND
                                                     UNITED STATES DISTRICT JUDGE




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